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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

                                       :
NINA JANKOWICZ,                        :
                                       :
                        Plaintiff,     :
                                       :
               v.                      :   C.A. No. 1:23-513-CFC
                                       :
FOX NEWS NETWORK, LLC, and             :
FOX CORPORATION,                       :
                                       :
                        Defendants.    :
                                       :


              NOTICE OF CHANGE OF LAW FIRM AFFILIATION
                  AND ADDRESS OF PATRICK F. PHILBIN

TO: THE COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF
    RECORD

      PLEASE TAKE NOTICE THAT the law firm affiliation of Patrick F. Philbin,

co-counsel for defendants, Fox News Network, LLC and Fox Corporation, is now

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 DATED: January 22, 2024                    DLA PIPER LLP (US)


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